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                                                            September 28, 2020
Hon. Edgardo Ramos
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Karl Sebastian Greenwood
               Case: 17-CR-630

Dear Judge Ramos,

        This office represents Mr. Greenwood. On the government’s consent, we are writing to
request an adjournment of next week’s court conference from October 5, 2020 to December 18,
2020 at 10:30 a.m. The reason for this request is that while we are still navigating a material
portion of the discovery in this case, our ability to confer with our client has been substantially
curtailed for months. Indeed, today was the first time we have been able to meet with our client
in person. Nevertheless, we have had several conferences with the government and are in the
process of receiving additional discovery materials that we anticipate to be voluminous. The
requested adjournment will allow time for us to review this tranche of discovery and, in turn, to
give appropriate advice to our client.

     If this request is granted, we will consent to the exclusion of time from October 5, 2020 to
December 18, 2020 for speedy trial purposes. Thank you for your consideration.


                                                                   /s/
                                                            Bruce Barket
                                                            Alexander Klein

The October 5 status conference is hereby adjourned to December 18, 2020, at 10:30 a.m.
Speedy trial time is excluded from October 5, 2020, until December 18, 2020, in the interest
of justice.
SO ORDERED.

                                                                10/5/2020
